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AO 106(Rev. 01/09) Application for a Search Warrant


                                                           United States District Coiiirt
                                                                                                for the
                                                                            Western District of New York
  In the Matter of the Search of
 (liik'/Jv desciih-ihi-ptop'-rivto fy            or jJciiiifv iho/sison h'njnsr'unJ.hUft'ii I

                                                                                                                                      Case No. 19-mj-1042
 37 Lchigh Street, Buffalo, New York 14206

                                                           APPLICATION FOR A SEARCH WARRANT

             I, a federal law enforcement officer or an attorney for the government, request a search warrant and slate
under penalty of perjury that I have reason to believe that on the following person or property (ninuijy iheperson onkimiviiw
pnypcriy 10 Iv Sfciu/h'i/ and           ili locan'oii)'.
             37 Lchigh Street, Buffalo, New York 14206, which is more fully described and pictured in
             Attachment A, which is attached hereto and incorporated by reference herein.

located in the Western District of New York, there is now concealed (uimuh'ihi-penon onicscnK- the property to Iv seized)'.
       Evidence pertaining to violations of Title 18, U.S.C. §§ 2251(a), 2252A(a)(2)and
       2252A(a)(5)(B), as more fully set forth in Attachment B, which is attached hereto and
             incorporated by reference herein.

The basis for search under Fed. R. Crira. P. 41(c) is (check one or more)'.
             a      evidence of a crime;
             a contraband, fruits of crime, or other items illegally possessed;
             a property designed for use, intended for use, or used in committing a crime;
             □ a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation ofTitle 18 U.S.C. Sections 2251(a), 2252A(a)(2) and 2252A(a)(5)(B),

The application is based on these facts:
             a      continued on the attached sheet.
             □ Delayed notice of                                  days (give exact ending date if more than 30 d^s:                                     -) is
                    requested under 18 U.S.C. § 3103a, the basis of which^ set^^ony^ attached sheet.

                                                                                                                          Applicant's si};naiitie


                                                                                                          MICHAEL HOCKWATER
                                                                                                          TASK FORCE OFFICER
                                                                                                          FFDl-RAT, RURFAIJ OF INVESTIGATION
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Sworn to before me and signed in my presence.
Date:        April                2019
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                                                                                                                                       si^nalury
                                                                                                          HONORABLE ,JEREMIAH J.'-MCCARTHY
City and state: Buffalo. New York                                                                         UNITED STATES MAGISTRATE .TUDGF.
                                                                                                                            I'rinted name and 'I'llle
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                  AFFIDAVn'IN SUPPORT OF SEARCH WARRANT




       I, Michael Hockwater, being duly sworn, depose and say:

       1.      I am a Police Detective with the Town of Cheektowaga, New York Police

Department.I have been a Police Officer since August of 1989. I am currently assigned as a

Task Force Officer (TFO) with the Federal Bureau of Investigation (FBI), Buffalo Field

Office, Child Exploitation Task Force, Innocent Images National Initiative, which targets

individuals involved in the online sexual exploitation of children. I have been a TFO since

June 14, 2010. As part of these duties, I have become involved in the investigation of

suspected violations of Title 18, United States Code, Sections 2251, 2252, 2252A, 2422, and

2423. I have also participated in various FBI mandated and volunteer training for the

investigation and enforcement of federal child pornography laws in which computers and

electronic media are used as the means for receiving, transmitting, and storing child

pornography.


      2.       I make this affidavit in support of an application for a warrant to search the

residence known as 37 Lehigh Street^ BufFalo, New York 14206(hereinafter the "SUBJECT

PREMISES"), located in the Western District of New York, which is more fully described

and pictured in Attachment A.



       3.      The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers

involved in this investigation, and upon my training and experience. Because this affidavit

is being submitted for the limited purpose of seeking a search warrant, I have not included
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each and every fact known to me conceming this investigation. I have setforth only the facts

that I believe are necessary to establish probable cause to believe that evidence of violations

ofTitle 18 U.S.C. Section 2251(a)[production ofchild pornography], Tide 18 U.S.C. Section

2252A(a)(2)[receipt ofchild pornography] and 18 U.S.C. Section 2252A(a)(5)(B)[possession

ofchild pornography] exists at the SUBJECT PREMISES.


                   1. COMPUTERS AND CHn.D PORNOGRAPHY




       4.      Computers and computer technology have revolutionized the way in which

individuals interested in child pornography interact with each other. Child pornography

formerly was produced using cameras and film (either still photography or movies). The

photographs required darkroom facilities and a significant amount ofskill in order to develop

and reproduce the images. There were definable costs involved with the production of

pomographic images. To distribute these images on any scale required significant resources.

The photographs themselves were somewhat bulky and required secure storage to prevent

their exposure to the public. The distribution of these wares was accomplished through a

combination of personal contacts, mailings, and telephone calls.


       5.      The development of computers has significantly reduced the amount of

resources needed to produce, communicate, distribute, and share child pomography.


       6.      Child pomographers can now transfer photographs from a camera into a

computer readable format with a device known as a scanner. With the advent of digital

cameras, the images can now be captured on a digital camera and transferred directly onto a

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computer. In the last ten years, the resolution of pictures taken by digital cameras has

increased dramatically, meaning the photos taken with digital cameras have become sharper

and crisper. Photos taken on a digital camera are stored on a removable memory card in the

camera. These memory cards often store up to 4 gigabytes of data, which provides enough

space to store over 1000 high resolution photographs.        Video camcorders, which once

recorded video onto tapes or mini CDs,now can save video footage in a digital format directly

to a hard drive in the camera. The video files can be easily transferred from the camcorder

to a computer. A device known as a modem allows any computer to connect to another

computer through the use of a telephone, cable, or wireless connection. Additionally, it is

now commonplace for cellular telephones to be equipped with photo and video capabilities,

which allows an individual to digitally shoot, store, send, and/or receive child pornography

all with one device.      Additionally, cellular telephones can be used as a means of

communications through the use oftext and electronic mail("e-mail") messages. Electronic

contact can be made to literally millions ofcomputers around the world.


       7.      The computer's ability to store images in digital form makes the computer itself

an ideal repository for child pornography. The size of the electronic storage media

(commonly referred to as the hard drive)used in home computers has grown tremendously




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within the last several years. These drives can store hundreds ofthousands ofimages at very

high resolution.



       8.      The Internet and its World Wide Web afford collectors of child pornography

several different venues for obtaining, viewing and trading child pornography in a relatively

secure and anonymous fashion.


       9.      Collectors and distributors of child pornography also use online resources to

retrieve and store child pornography, including services offered by Internet Portals such as

Yahoo! and Hotmail, among others. The online services allow a user to set up an account

with a remote computing service that provides e mail services as well as electronic storage of

computer files in a variety offormats. A user can set up an online storage account from any

computer with access to the Internet. Evidence ofsuch online storage of child pornography

is often found on the user's computer.


       10.     Based upon my knowledge, experience, and training in child pornography

investigations, and the training and experience of other law enforcement officers with whom

I have had discussions, there are certain characteristics common to individuals involved in

the receipt and attempt to receive child pornography:


                     Those who receive and attempt to receive child pornography may
                     receive sexual gratification, stimulation, and satisfaction from contact
                     with children; or from fantasies they may have viewing children
                     engaged in sexual activity or in sexually suggestive poses, such as in
                     person, in photographs, or other visual media; or from literature
                      describing such activity.



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             b.    Those who receive and attempt to receive child pornography may
                   collect sexually explicit or suggestive materials, in a variety of media,
                   including photographs, magazines, motion pictures, videotapes, books,
                   slides and/or drawings or other visual media.            Such individuals
                   oftentimes use these materials for their own sexual arousal and
                   gratification. Further, they may use these materials to lower the
                   inhibitions of children they are attempting to seduce, to arouse the
                   selected child partner, or to demonstrate the desired sexual acts.

             c.    Those who receive and attempt to receive child pornography often
                   possess and maintain their "hard copies" of child pornographic
                   material, that is, their pictures, films, video tapes, magazines, negatives,
                   photographs,correspondence, mailing lists, books, tape recordings, etc.,
                   in the privacy and security oftheir home or some other secure location.
                   These individuals typically retain pictures, films, photographs,
                   negatives, magazines, correspondence, books, tape recordings, mailing
                   lists, child erotica, and videotapes for many years.

            d.     Likewise, those who receive and attempt to receive child pornography
                   often maintain their collections that are in a digital or electronic format
                   in a safe, secure and private environment, such as a computer and
                   surrounding area. These collections are often maintained for several
                   years and are kept close by, usually at the individual's residence, to
                   enable the collector to view the collection, which is valued highly.

            e.     Those who receive and attempt to receive child pornography also may
                   correspond with and/or meet others to share information and materials;
                   rarely destroy correspondence from other child pornography
                   distributors/collectors; conceal such correspondence as they do their
                   sexually explicit material; and often maintain lists of names, addresses,
                   and telephone numbers of individuals with whom they have been in
                   contact and who share the same interests in child pornography.

             f.    Those who receive and attempt to receive child pornography prefer not
                   to be without their child pornography for any prolonged time period.
                   This behavior has been documented by law enforcement officers
                   involved in the investigation of child pornography throughout the
                   world.


      11.    As is the case with most digital technology, communications by way of

computer can be saved or stored on the computer used for these purposes. Storing this


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information can be intentional, i.e., by saving an e mail as a file on the computer or saving

the location of one's favorite websites in, for example, "bookmarked" files.             Digital

information can also be retained unintentionally, e.g., traces of the path of an electronic

communication may be automatically stored in many places (e.g., temporary files or Internet

Service Provider client software, among others). In addition to electronic communications,

a computer user's Internet activities generally leave traces or "footprints" in the web cache and

history files of the browser used. Additionally, a computer also creates logs, indices, and

registries indicating when a computer was used, which user was logged on, and when data

was accessed, shared, transferred, or downloaded. A forensic examiner can often recover

evidence which shows that a computer contains peer to peer software (see below), when the

computer was sharing files, and even some of the files which were uploaded or downloaded.

Such information may be maintained indefinitely until overwritten by other data. Cellular

telephones also allow the user to save or store text messages and e mail messages received by

the phone,for later viewing or distributing, and even if deleted, a forensic examiner can often

recover evidence ofsuch text messages and e mail messages.



       12.    The Internet is a worldwide computer network that connects computers and

allows communications and the transfer of data and information across state and national

boundaries. A user accesses the Internet from a computer network or Internet Service

Provider(ISP)that connects to the Internet. The ISP assigns each user an Internet Protocol

(IP) Address. Each IP address is unique. Every computer or device on the Internet is

referenced by a unique IP address the same way every telephone has a unique telephone

number. An IP address is a series offour numbers separated by a period, and each number


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is a whole number between 0 and 255. An example of an IP address is 192.168.10.102.

Each time an individual accesses the Internet, the computer from which that individual

initiates access is assigned an IP address. A central authority provides each ISP a limited

block of IP addresses for use by that ISP's customers or subscribers. Most ISP's employ

dynamic IP addressing, that is, they allocate any unused IP address at the time of initiation

of an Internet session each time a customer or subscriber accesses the Internet. A dynamic

IP address is reserved by an ISP to be shared among a group of computers over a period of

time. IP addresses may also be static, if an ISP assigns a user's computer a particular IP

address that is used each time that computer accesses the Internet. The ISP may log the date,

time and duration ofthe Internet session for each IP address and can identify the user of that

IP address for such a session from these records, depending on the ISP's record retention

policies.



       13.     Computer files or remnants ofsuch files can be recovered months or even years

after they have been downloaded onto a hard drive, deleted, or viewed via the Internet.

Electronic files downloaded to a hard drive can be stored for years at little to no cost. Even

when such files have been deleted, they may be recoverable months or years later using readily

available forensic tools. When a person "deletes" a file on a home computer, the data

contained in the file does not actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data. In addition, a computer's operating system may also keep

a record of deleted data in a "swap" or "recovery" file. Similarly, files that have been viewed

via the Internet are automatically downloaded into a temporary Internet directory or cache.

The browser typically maintains a fixed amount of hard drive space devoted to these files,

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and the files are only overwritten as they are replaced with more recently viewed Internet

pages. Thus,the ability to retrieve residue ofan electronic file from a hard drive depends less

on when the file was downloaded or viewed than on a particular user's operating system,

storage capacity, and computer habits.



       14.     Digital computer files can be analyzed using a variety of different computer

algorithms, which reads a particular computer file and generates a unique numeric identifier

for the file, known as a "hash value." By comparing these hashes it can be concluded that

two files that share the same digital signature are identical with a precision that exceeds 99.99

percent certainty. Even the slightest modification of a file will change its hash value. Your

Affiant is unaware ofa documented occurrence oftwo different files having different contents

while sharing the same hash value.


Tnstapram



       15.    From my review ofpublicly available information provided by Instagram about

its service, including Instagram's "Privacy Policy," I am aware of the following about

Instagram and about the information collected and retained by Instagram.


       16.    Instagram is operated by Facebook Inc. Instagram can be accessed at

http://www.instagram.com. Instagram allows its users to create their own profile pages,

which can include a short biography, a photo of themselves, and other information. Users

can access Instagram through the Instagram website or by using a special electronic




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application ("app") created by the company that allows users to access the service through a

mobile device.



       17.    Instagram permits users to post photos to their profiles on Instagram and

otherwise share photos with others on Instagram, as well as Facebook and Twitter. When

posting or sharing a photo on Instagram,a user can add to the photo:a caption; various "tags"

that can be used to search for the photo (e.g., a user may add the tag #vw so that people

interested in Volkswagen vehicles can search for and find the photo); location information;

and other information. A user can also apply a variety of"filters" or other visual effects that

modify the look ofthe posted photos. In addition,Instagram allows users to make comments

on posted photos, including photos that the user posts or photos posted by other users of

Instagram. Users can also "like" photos.


       18.    Upon creating an Instagram account, an Instagram user must create a unique

Instagram usemame and an account password.              This information is collected and

maintained by Instagram.



       19.    Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user

profile. This information may include the user's full name, e-mail addresses, and phone

numbers, as well as potentially other personal information provided directly by the user to

Instagram. Once an account is created, users may also adjust various privacy and account

settings for the account on Instagram. Instagram collects and maintains this information.



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        20.    Instagram allows users to have "friends," which are other individuals with

whom the user can share information without making the information public. Friends on

Instagram may come from either contact lists maintained by the user, other third-party social

media websites and information, or searches conducted by the user on Instagram profiles.

Instagram collects and maintains this information.


        21.    Instagram also allows users to "follow" another user, which means that they

receive updates about posts made by the other user. Users may also "unfollow" users, that

is, stop following them or block them, which prevents the blocked user from following that

user.




        22.    Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains

user content that users post to Instagram or share through Instagram.


        23.    Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user's feed,

search history, or profile.


        24.    Users on Instagram may also search Instagram for other users or particular

types of photos or other content.


        25.    For each user, Instagram also collects and retains information, called "log file"

information, every time a user requests access to Instagram, whether through a web page or


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through an app. Among the log file information that Instagram's servers automatically

record is the particular web requests, any Internet Protocol("IP) address associated with the

request, type of browser used, any referring/exit web pages and associated URLs, pages

viewed, dates and times of access, and other information.



       26.    Instagram also collects and maintains "cookies," which are small text files

containing a string ofnumbers that are placed on a user's computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example,

Instagram uses cookies to help users navigate between pages efficiendy, to remember

preferences, and to ensure advertisements are relevant to a user's interests.


       27.    Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record "device identifiers," which includes data

files and other information that may identify the particular electronic device that was used to

access Instagram.



       28.    Instagram also collects other data associated with user content. For example,

Instagram collects any "hashtags" associated with user content (i.e., keywords used),

"geotags" that mark the location of a photo and which may include latitude and longitude

information, comments on photos, and other information.



       29.    Instagram also may communicate with the user, by email or otherwise.

Instagram collects and maintains copies ofcommunications between Instagram and the user.



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                n. THE INVESTIGATION AND PROBABLE CAUSE



       30.    On April 10, 2019, I was contacted by Detective Dawn Rosenberry of the

Fauquier County Sheriffs Office in the state of Virginia who requested assistance with an

investigation involving the production of child pornography. Detective Rosenberry opened

an investigation in response to a report she received wherein a 14 year old male from Virginia

(hereinafter VICl) had been communicating through Instagram with a person utilizing

Instagram account LEXIGURL1015. VICl had sent LEXIGURL1015 pornographic images

of himself.




       31.    Detective Rosenbury interviewed VICl and his parents and determined that

between the dates of 2/22/2019 and 2/23/2019, VICl engaged in online communications

using Instagram and sent the LEXIGURL1015 account several images of himself that meet

the definition ofchild pornography. VICl was under the impression that the person utilizing

the LEXIGURL1015 account was a teenage female from California. VICl received from

LEXIGURL1015 several pornographic images ofan unknovra female. Detective Rosenbury

observed the activity on VICl's cellular phone.


       32.    On 2/28/2019, Detective Rosenbury obtained a search warrant for Instagram

account LEXIGURL1015 through the Fauquier Circuit Court in the State of Virginia. On

4/04/2019, Detective Rosenbury obtained the search warrant return and recovered all of the

aforementioned messages and images sent between VICl and the person utilizing the

LEXIGURL1015 account. The search warrant return also provided an email address of

alexissmithl015@gmail.com for the subscriber and recent IP logs for the LEXIGURL1015

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account. The account was registered on 2/17/2019 using IP address 98.5.196.189. The same

IP address was used to login to the account during the time of the communications that

occurred between VICl and the person using the LEXIGURL1015 account.


      33.    On 4/04/2019, pursuant to a subpoena issued by the Detective Rosenbury,

Charter Communications reported that the subscriber ofIP address 98.5.196.189 was Walter

Gasiorek of 37 Lehigh Street, Buffalo, New York 14206. The subpoena return also provided

a   telephone     number      of   (716)713-3052      and     an    email     address    of

wgasiorek9601392@roadrunner.com.


      34.    On 4/10/20191 conducted a utility check for the SUBJECT PREMISES with

National Fuel who advised there was an active account at the SUBJECT PREMISES in the

name of Walter Gasiorek. The account also listed a phone number of(716) 713-3052.


      35.    On April 11, 2019, I reviewed the search warrant return for the

LEXIGURL1015 Instagram account. I confirmed all of the information provided by

Detective Rosenbury. The following are excerpts of Instagram text messages between VICl

and LEXIGURL1015:




      On 2/22/2019 @01:46:22 UTC, LEXIGURLI015 sent VICl an image ofa teenagefemale
      and asked "what do u think ofme?


      On 2/22/2019 @01:47:07 UTC, LEX1GURL1015 sent VICl a message stating, "send one
       back, I'll send another". In response, VICl sent LEXIGURL1015 an image ofhimselffiiUy
      clothed.




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       On 2/22/2019 @02:05:57 UTC, LEXIGURL1015sent VICl a message stating "send injust
       boxers, turn theflash off:p


       On 2/22/2019@02:13:33 UTC, VICl sentLEXIGURL1015a message stating,Ijust want to
       know whatschool do u go too". LEXIGURL1015responded stating "mckinley in LA, u7 VICl
       responded, "Igo to Marshall middle in Va."


       On 2/22/2019@02:17:05 UTC, Vicl then sends LEXIGURL1015an image ofhispenis with
       a message stating "it's hairy". LEXIGURL1015 reloaded by sending a topless picture ofa
       teenagefemale and with text message "send another;)". LEXIGURL1015 then tells VICl, "do
       itfrom ur bed, sit down and put the cam below your dick chest andface;)." VICl then sends a
       message stating, "I'll send in a minutegotta make sure they think I'm sleeping". He then sends
       an image ofhis penis as directed by LEXIGURL1015. LEXXIGURL1015sends VICl several
       more images ofa nakedfemale teenager.


       On 2/22/2019 @02:38:13 UTC, LEXIGURL1015 sends VICl a message stating," take one
       with cum on your dick/chest;)." VICl then sends an image ofhis penis and his abdomen that
       has a clear substance on it.



       36.     I examined the images that VICl sent ofhis face to LEXIGURL1015 and noted

that he looks very young, well under the age of 18.


       37.     A further examination of the LEXIGURL1015 Instagram account found that

there were several additional not yet identified minor males who had also sent

LEXIGURL1015 images containing child pornography.


       38.     On April 11, 2019,1 utilized a wireless internet detection device to determine

the names and security status of any wireless networks operating in the vicinity of the



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SUBJECT PREMISES. The results indicated several wireless networks, all of which were

secured. On April 12,2019,1 again utilized a wireless internet detection device in the vicinity

of the SUBJECT PREMISES and determined that there were several wireless networks

available, all of which were secured.



       39.    On April 12, 2019, I conducted an open internet search of the SUBJECT

PREMISES and learned that one of the resident's residing at the location is a substitute

teacher and coach at a local middle school. 1 also spoke with a confidential source who

confirmed this information.



       40.    Based on the forgoing, the above information indicates that on 2/22/2019, the

pornographic files described herein were transmitted and traveled in interstate and foreign

commerce via the Internet, and that those transmissions originated from an internet modem

concealed inside the SUBJECT PREMISES.



                       m. SEARCHING COMPUTER SYSTEMS




       41.    1 have spoken with law enforcement personnel trained in computer evidence

recovery who have knowledge about the operation of computer systems and the correct

procedures for the seizure and analysis ofcomputer systems.


       42.    These individuals have participated in the execution of numerous search

warrants during which they have seized and/or examined computer systems.                These

individuals have also participated in several warrants that involved the search and/or seizure


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of, and has been responsible for analyzing, seized electronic data and records from those

systems.



       43.     Based on my experience and training, plus the common sense knowledge that

in today's technological world computers, computer related media, and cellular telephones

are used for communication and storage of data and information, it is reasonable to believe

that some or all ofthe records sought to be seized will be in electronic/digital format.


       44.     Furthermore, based upon my training, experience, and consultations with law

enforcement personnel who specialize in searching computer systems, I have learned that

searching and seizing information from computer systems and other storage media

(computers,PDAs,cellular telephones, MP3 Players, etc.) often requires agents to seize most

or all the computer system or storage media to be searched later by a qualifred computer

forensic examiner in a laboratory or other controlled environment. This is true for the

reasons set out below.



       45.     The volume of data stored on many computer systems and electronic storage

devices will typically be so large that it will be highly impractical to search for data during the

execution of the physical search of the premises. The hard drives commonly included in

mere desktop computers are capable ofstoring millions of pages oftext; the storage capacity

of other electronic devices (e.g. a micro drive, a thumb drive, etc.) can also be signifrcant.

Unlike the search of documentary files, computers store data in "files" that cannot easily be

reviewed. For instance, a single 1 gigabyte of storage media is the electronic equivalent of



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approximately 500,000 pages of double spaced text. Most computer and electronic devices

have capacities well in excess of a single gigabyte.


       46.     The search through the computer (or other electronic media) itself is a time

consuming process. Software and individual files can be "password protected." Files can

be placed in hidden directories; files can be mislabeled or be labeled with names that are

misleading. Similarly, files that contain innocent appearing names ("Smith.Itr") can in fact

be electronic commands to electronically cause the data to self destruct. Also, files can be

"deleted," but, unlike documents that are destroyed, the information and data from "deleted"

electronic files usually remains on the storage device until it is "over written" by the computer.

For example, the computer's hard drive stores information in a series of "sectors," each of

which contains a limited number ofelectronic bytes usually 512. These sectors are generally

grouped to form clusters. There are thousands or millions of such clusters on a hard drive.

A file's clusters might be scattered throughout the drive (for example, part of a memo could

be at Cluster 163, while the next part of the memo might be stored at Cluster 2053). For a

non-deleted file, there are "pointers" that guide the computer in piecing the clusters together.

For a file that has been deleted, the "pointers" have been removed. Therefore, the forensic

examination would include the piecing together of the associated clusters that made up the

"deleted" file. Being aware ofthese pitfalls, the investigator/analyst must follow a potentially

time consuming procedure to review the contents of the computer storage device so as to

insure the integrity of the data and/or evidence. A single computer and related equipment

could take many days to analyze properly.




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       47.     Computer storage media are used to save copies offiles and communications,

and printers are used to make paper copies ofthese communications and files. Applications

and associated data stored on the storage media are the means by which the computer can

send, print and save such activity. Finally, password protected data and other security

devices are often used to restrict access to or hide computer software, documentation or data.

All these parts ofa computer are integrated into the entire operation ofa computer. In order

to evaluate the evidence most effectively, the computers and all of the related computer

equipment described above should be available to a computer investigator/analyst.


       48.    Therefore, based upon my knowledge, training, and experience, as well as

information related to me by Special Agents and others involved in forensic examination of

computers,I am aware that searches for and seizures ofevidence from computers commonly

require Agents to seize most or all ofa computer system's input/output and peripheral devices

(including other storage media),in order for a qualified computer expert to accurately retrieve

the system's data in a laboratory or other controlled environment. In order to fully retrieve

data from a computer system, investigators must seize all the storage devices, as well as the

central processing units(CPUs),and applicable keyboards and monitors which are an integral

part ofthe processing unit.


       49.    Furthermore, searching computer systems is a highly technical process which

requires specific expertise and specialized equipment. There are so many types of computer

hardware and software in use today that it is rarely possible to bring to the search site all of

the necessary technical manuals and specialized equipment necessary to conduct a thorough


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search. In addition, it may also be necessary to consult with computer personnel who have

specific expertise in the type of computer, software application or operating system that is

being searched.


       50.    The best practices for analysis ofcomputer systems and storage media rely on

rigorous procedures designed to maintain the integrity ofthe evidence and to recover hidden,

mislabeled, deceptively named, erased, compressed, encrypted, or password protected data

while reducing the likelihood of inadvertent or intentional loss or modification of data. A

controlled environment, such as a law enforcement laboratory, is typically required to

conduct such an analysis properly.



       51.    Therefore, it is respectfully requested that the warrant sought in the instant

application authorize the search and seizure ofall "computer hardware","computer software"

and related storage media, and other devices which may contain or assist in the retrieval of

the records and documents described in Attachment B ofthis affidavit.



         IV. THE PLACE TO BE SEARCHED AND ITEMS TO BE SEIZED



       52.    Based on the foregoing, there is probable cause to believe that at the SUBJECT

PREMISES, which is more fully described and pictured in Attachment A, there is located

evidence,fruits and/or instrumentalities ofthe violations specified in this affidavit.




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       53.    Based on the foregoing, there is probable cause to believe that at the above

location the items set out in Attachment B vrill be located, whether such items are stored in

physical, documentary, or electronic form.


       54.    In addition it is and has been the standard and ordinary practice of FBI that

during the execution of search warrants, Special Agents take entry and exit photographs of

the premises to be searched, as well as photographs of the specific places in which items are

found and from which items are seized. The purpose of this procedure is to preserve an

accurate record of the condition and appearance of the premises upon the arrival and exit of

the search team,and to preserve an accurate record ofthe locations within the premises where

items are found and from which such items are seized.



                                    V. CONCLUSION




       55.    Based upon the above information, I believe that probable cause exists to

believe there has been a violation of Title 18 U.S.C. Section 2251(a)[production of child

pornography], Title 18 U.S.C. Section 2252A(a)(2) [receipt of child pornography] and 18

U.S.C. Section 2252A(a)(5)(B)[possession of child pornography] and that there is probable

cause to believe that at 37 Lehigh Street, Buffalo, New York 14206, which is more fully

described and pictured in Attachment A, there is located those items set out in Attachment

B.




       56.    In consideration of the foregoing, I respectfully request that this Court issue a

search warrant for the premises known as 37 Lehigh Street, Buffalo, New York 14206,

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which is more fully described and pictured in Attachment A, authorizing the search of the

aforementioned premises for the items described in Attachment B.



       57.      Finally, it is respectfully requested that this Court issue an Order sealing, until

further order of this Court, all papers submitted in support of this Application, including the

Application, Affidavit, and Search Warrant, and the required inventory notice (with the

exception of one copy of the warrant and the inventory notice that will be left at the premises

to be searched).




                                                        lichael Hockwater, Task Force Officer
                                                       Federal Bureau of Investigation

Sworn and subscribed to before me
this^2^ay ofApra2019.



Uniid^ States       istrate Judge Jeremiah J. McCarthy




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                                    ATTACHMENT A
                                  Premises to be Searched




       37 Lehigh Street, Buffalo, New York 14206, is a 1 '/2 story cape cod style single-
family residence on the east side of the street. It has blue siding and white trim. The number
"37" is displayed on the front of the house next to the front door. A photograph of the
residence is included below.




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                                      ATTACHMENT B
                                   The Items to be Searched


       The items to be searched for and seized at the location listed in Attachment A,whether
in physical, documentary, or electronic form, that pertain to violations of Title 18, United
States Code,2251(a)[production ofchild pornography]. Title 18 U.S.C. Section 2252A(a)(2)
[receipt of child pomography] and 18 U.S.C. Section 2252A(a)(5)(B) [possession of child
pornography], are as follows:

        1.     All visual depictions, including still images, videos, films or other recordings of
child pomography or minors engaged in sexually explicit conduct, as defined in Title 18,
United States Code, Section 2256, and any mechanism used for the production, receipt,
distribution, advertisement, or storage ofthe same,including but not limited to:

       Any computer, computer system and related peripherals including any data
       processing devices and software(including but notlimited to central processing
       units, intemal and peripheral storage devices such as fixed disks, external hard
       drives, floppy disk drives and diskettes, routers, computer compact disks, CD-
       ROMS, DVD, and other memory storage devices); peripheral input/output
       devices(including but not limited to keyboards, printer, video display monitors,
       scanners, digital cameras, camcorders, and related communications devices
       such as cables and connections); related communications devices (such as
       modems, cables and connections, recording equipment, RAM or ROM units,
       acoustic couplers, automatic dialers, speed dialers, programmable telephone
       dialing or signaling devices and electronic tone-generating devices); cellular
       telephones; as well as any devices, mechanisms, or parts that can be used to
       restrict access to computer hardware(including but not limited to physical keys
       and locks).

       2.     Any and all computer passwords, counter-forensic programs, and other data
security devices designed to restrict access to, hide, or destroy computer software,
documentation, or data. Data security devices may consist of hardware, software, or other
programming code.

        3.      Any and all documents, records, images, videos, emails, email software,
associated email addresses, email address book contents, internet history, browsing history,
internet search history, cookies, deleted files, bookmarked and favorite web pages, user typed
web addresses, desktop shortcuts, path and file names for files opened through any media
and/or image viewing software, chat software, chat files, chat logs, chat names used, peer to
peer software, peer to peer files, newsgroup postings by the user, IP addresses assigned, and
other evidence pertaining to the production, receipt, and possession ofchild pomography,sex
trafficking of minors, and/or the coercion and enticement of minors for illegal sexual activity;
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      4.     Any and all records, documents, invoices, notes and materials that pertain to
accounts with any Internet Service Provider, as well as any and all records relating to the
ownership or use ofcomputer equipment found in the residence.

       5.     Documents and records regarding the ownership, usage and/or possession of
the searched premises.

       6.     Photographs: Entry and exit photographs of the premises to be searched, as
well as photographs ofthe specific places in which items are found and from which items are
seized.
